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  8                      United States District Court
  9                      Central District of California
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      KEVIN SHAW, an individual,                  Case № 2:17-CV-02386-ODW (PLAx)
 11
                        Plaintiff,
 12                                              ORDER DENYING, IN PART, AND
 13
            v.                                   GRANTING, IN PART,
                                                 DEFENDANTS’ MOTION TO
 14   KATHLEEN F. BURKE, in her individual DISMISS, OR, IN THE
      and official capacities; EARIC DIXON-      ALTERNATIVE, FOR A MORE
 15   PETERS, in his individual and official
      capacities; WILLIAM A. MARMOLEGO, DEFINITE STATEMENT [22]
 16   in his individual and official capacities;
      JUAN C. ASTORGA, in his individual
 17   and official capacities; FRANCISCO C.
      RODRIGUEZ, in his official capacity;
 18   SCOTT J. SVONKIN, in his official
      capacity; SYDNEY K. KAMLAGER, in
 19   his official capacity; MIKE FONG, in his
      official capacity; MIKE ENG, in his
 20   official capacity; ANDRA HOFFMAN, in
      her official capacity; ERNEST H.
 21   MORENO, in his official capacity;
      NANCY PEARLMAN, in her official
 22   capacity, and JOHN DOE, in his
 23
      individual and official capacities,

 24                     Defendants.
 25                                   I.   INTRODUCTION
 26         Kevin Shaw filed his Complaint on March 28, 2017, and seeks an injunction,
 27   declaratory relief, and damages for alleged violations of his First Amendment rights,
 28   while a student at Los Angeles Pierce College (“Pierce”). (Compl., ECF No. 1.) He
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  1   asserts five causes of action pursuant to 28 U.S.C. § 1983, and a sixth for declaratory
  2   relief. Defendants Kathleen F. Burke, Earic Dixon-Peters, William A. Marmolejo,
  3   Juan C. Astorga, Francisco C. Rodriguez, Scott J. Svonkin, Sydney K. Kamlager,
  4   Mike Fong, Mike Eng, Andra Hoffman, Ernest H. Moreno, and Nancy Pearlman
  5   (“Defendants”) moved to dismiss Shaw’s Complaint on May 24, 2017, arguing that:
  6   1) Shaw’s claims are barred by the Eleventh Amendment; 2) Shaw has no standing to
  7   bring the claims; 3) certain defendants are entitled to qualified immunity; and 4) Shaw
  8   fails to state a claim. (Mot., ECF No. 22.)
  9         On October 24, 2017, the United States filed a Statement of Interest, pursuant to
 10   28 U.S.C. § 517, arguing that Shaw has sufficiently pleaded a claim under the First
 11   Amendment, but declining to opine on the remaining issues. (Statement of Interest,
 12   ECF No. 39.) Defendants opposed the United States’ brief, and the Court later
 13   allowed the United States to file a Supplemental Statement of Interest in response.
 14   (Supp. Statement of Interest, ECF No. 44.) After considering the papers filed in
 15   connection with the Motion, the Court deemed the matter appropriate for decision
 16   without oral argument. Fed. R. Civ. P. 78(b); C.D. Cal. L.R. 7-15. Accordingly, the
 17   Court DENIES, in part, and GRANTS, in part, Defendants’ Motion for the reasons
 18   set forth below.
 19                             II.   FACTUAL BACKGROUND1
 20         Shaw attends Pierce, which is one of nine community colleges within the Los
 21   Angeles Community College District (the “District”). (Compl. ¶¶ 1, 3, 14, 28.) Shaw
 22   brings facial and as-applied challenges to the District and Pierce’s published and
 23   unpublished speech policies.
 24   A.    The Speech Policies
 25         Chapter IX, Article IX of the District’s Rules governs freedom of speech on
 26   campuses within the District. (Id. ¶¶ 31–34.) Some of the rules at issue here include:
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 28     All factual references are allegations taken from Shaw’s Complaint and accepted as true for
      purposes of this Motion. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).



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  1              Rule 9901, which establishes all of the District’s campuses as non-public
  2                 fora that are not open to free speech and expression, except for
  3                 designated “Free Speech Areas,” (Id. ¶ 35, Ex. A, pg. 31);
  4              Rule 9902.11, which provides that students may distribute literature,
  5                 including “petitions, circulars, leaflets, newspapers, miscellaneous
  6                 printed matter and other materials” only in Free Speech Areas, (Id. ¶ 37,
  7                 Ex. A, pg. 31);
  8              Rule 9902.13, which allows each college president to designate “Free
  9                 Speech Areas” on campus “for free discussion and expression by all
 10                 persons,” subject to content-neutral time, place, and manner restrictions,
 11                 including “reasonable time restrictions on the use of Free Speech Areas,”
 12                 (Id. ¶ 38, Ex. A, pg. 32);
 13              Rule 9904, which provides that student use of areas not designated as
 14                 “Free Speech Areas” for expressive activities “shall be governed by the
 15                 rules and regulations established pursuant to Article X, relating to student
 16                 activities and events,” (Id., Ex. A, pg. 34); and
 17              Rule 91005, Article X, which provides that “the college president shall
 18                 not approve any rules relating to non-Free Speech Areas which would
 19                 deny students their free speech rights were they conducting such
 20                 activities in Free Speech Areas.” (Defendants’ Request for Judicial
 21                 Notice, Ex. 1, ECF No. 23-1.)2
 22          Pierce requires students to obtain a permit prior to using the Free Speech Area.
 23   (Id. ¶ 4.) Shaw claims this “unpublished requirement…severely restrict[s] free speech
 24   and expressive activity.” (Id.) The permit contains additional rules and regulations
 25   that are only available by requesting and obtaining a permit. (Id. ¶¶ 43–44, Ex. C.)
 26
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 27    Shaw does not oppose Defendants’ Request for Judicial Notice, and addresses the contents of the
      District’s Board Rules in his Opposition. (Opp’n 18, ECF No. 33.) The Court takes judicial notice
 28   of the District’s Board Rules, Chapter IX, Article X. Esquivel v. San Francisco Unified Sch. Dist.,
      630 F. Supp. 2d 1055, 1057 n.2 (N.D. Cal. 2008) (taking judicial notice of school board policy).



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  1   As described further below, Shaw first became aware of this requirement after a
  2   school administrator, sued here as John Doe, advised him that he was not permitted to
  3   engage in free speech outside of the Free Speech Area, and that he needed to complete
  4   a permit application prior to doing so. (Id. ¶ 60.) Because Pierce does not publish its
  5   free speech rules and regulations, “[s]tudents…have no public, generally accessible
  6   means to discern any restrictions to which they are subject or under which they could
  7   be punished for engaging in speech or expressive activity on Pierce College’s
  8   campus.” (Id. ¶ 40.)
  9         Upon receiving the permit application, students discover that:
 10             “The college has one (1) Free Speech Area” on campus “designated for
 11               free speech and gathering of signatures,” (Id. ¶ 40, Ex. C, pgs. 36–37);
 12             “Individuals planning to distribute material on campus are required to go
 13               to the Vice President of Student Services Office located on the third floor
 14               of the Student Services Building between the hours of 9:00 a.m. and 4:00
 15               p.m.” (Id., Ex. C, pg. 36);
 16             Students must identify the name and address of the organization they
 17               represent, the name(s) of the distributor(s), and the date and time of the
 18               distribution, (Id. ¶ 48, Ex. C, pg. 36); and
 19             “[D]istribution [of materials] shall take place only within the
 20               geographical limits of the Free Speech Area,” and students may only use
 21               the Free Speech Area from 9:00 a.m. until 7:30 p.m., Monday through
 22               Friday. (Id. ¶¶ 36–37, Ex. C, pg. 37.)
 23   Shaw claims that, “[o]n its face, the Pierce College Free Speech Area Policy does not
 24   limit the discretion of the Vice President of Student Services Office, or other
 25   administrators responsible for its enforcement, to deny or approve the application
 26   because of the content or viewpoint of the speaker’s intended message.” (Id. ¶ 50.)
 27   The Free Speech Area also prohibits “spontaneous or anonymous speech because
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  1   individuals must fill out an application for the use of the space and identify themselves
  2   and their organization prior to accessing it. (Id. ¶ 51.)
  3           The Free Speech Area is identified on an attachment to Pierce’s Free Speech
  4   Area Policy, which is a map that has an area “on the Mall within…red and black
  5   dotted lines[, and] is approximately 616 square feet, comprising approximately .003%
  6   of the total area of Pierce College’s 426 acres, and approximately .007% of the main
  7   area of campus…, which excludes the approximately 226-acre farm dedicated to
  8   Pierce’s agricultural…programs.” (Id. ¶ 46, Exs. B, C.) Shaw alleges that the limited
  9   size of the Free Speech Area is not tied to any legitimate interest because Pierce “has
 10   many open areas and sidewalks beyond the Free Speech Area where student speech,
 11   expressive activity, and distribution of literature would not interfere with or disturb
 12   access to college buildings or sidewalks, impede vehicular or pedestrian traffic, or in
 13   any way substantially disrupt [Pierce’s] operations….” (Id. ¶ 54.)
 14           Pierce enforces these rules through its Standards of Student Conduct, which it
 15   prints in its schedule of classes. (Id. ¶ 55.) A violation of Pierce’s rules, or District
 16   Rule 9803.11, which prohibits a “[v]iolation of college rules and regulations including
 17   those concerning student organizations, the use of college facilities, or the time, place,
 18   and manner of public expression or distribution of materials,” may result in discipline.
 19   (Id.)
 20   B.      The Policies Applied to Shaw
 21           In addition to being facially unconstitutional, Shaw alleges that Pierce enforces
 22   its rules in a way that restricts free speech. On November 2, 2016, Shaw and two
 23   other members of the Young Americans for Liberty organization attempted to
 24   distribute Spanish-language copies of the United States Constitution and discuss
 25   freedom of speech issues with students on Pierce’s campus. (Id. ¶ 56.) Shaw and his
 26   cohort set up a small folding table near the “Mall” area of campus, but outside of the
 27   Free Speech Area. (Id. ¶ 57.) Shortly afterward, a college administrator advised them
 28   that they were violating Pierce’s free speech policies, and would need to obtain a



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  1   permit to continue distributing their materials and interacting with students.
  2   (Id. ¶¶ 59–60.) Shaw asked what would happen if he did not follow the administrator
  3   to obtain the permit, and the administrator said that he would ask Shaw and the others
  4   to leave campus. (Id. ¶ 61.) So, Shaw followed the administrator to the office, and
  5   filled out the permit application, which included the Pierce College Free Speech Area
  6   Policy, which Shaw had now seen for the first time. (Id. ¶ 62, Ex. B.) Despite his
  7   request, the administrator refused to provide Shaw with a copy of the completed
  8   permit application. (Id. ¶ 63.)
  9         On November 11, 2016, Shaw emailed Astorga, the Dean of Student
 10   Engagement, and informed him that he wanted to gather signatures and encourage
 11   students to adopt a different free speech policy in an area outside of the Free Speech
 12   Area, but away from buildings and in an area that would not impede pedestrian traffic.
 13   (Id. ¶¶ 18, 64–65.) Shaw also confirmed that he would not use any amplified sound.
 14   (Id. ¶ 65.) It is unclear from the Complaint whether Astorga responded.
 15         On November 16, 2016, Shaw distributed materials outside the Free Speech
 16   Area “for several hours in an open, grassy area of campus” without encountering any
 17   administrators. (Id. ¶ 66.) He also observed a “large protest that formed outside of
 18   the Free Speech Area to protest the election of then-President-Elect Donald Trump.”
 19   (Id.) This, he claims, evidences Pierce’s selective and uneven enforcement of its free
 20   speech policies. (Id. ¶ 67.)
 21         Through the rest of November and December 2016, Shaw attempted on several
 22   occasions to obtain a copy of his signed permit application. (Id. ¶¶ 68–85.) After
 23   several rebuffed attempts and correspondence between Shaw and Pierce
 24   administrators who are named Defendants, on December 8, 2016, Geremy Mason, a
 25   senior secretary in the Associated Student Organization (“ASO”) Office, provided
 26   Shaw with a copy of his application. (Id.)
 27         Now, Shaw wants to continue gathering signatures, and expressing himself on
 28   Pierce’s campus, without being confined to the small Free Speech Area. (Id. ¶ 88.)



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  1   However, he is afraid to do so because he could run into an administrator who would
  2   discipline him for violating the Standards of Student Conduct or “contact the sheriff’s
  3   office to remove him from campus.” (Id.)
  4                                III.    LEGAL STANDARD
  5         A court may dismiss a complaint under Rule 12(b)(6) for lack of a cognizable
  6   legal theory or insufficient facts pleaded to support an otherwise cognizable legal
  7   theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). A
  8   court may also dismiss a complaint for lack of subject matter jurisdiction, pursuant to
  9   Rule 12(b)(1).
 10         To survive a motion to dismiss, a complaint need only satisfy the minimal
 11   notice pleading requirements of Rule 8(a)(2)—a short and plain statement of the
 12   claim. Porter v. Jones, 319 F.3d 483, 494 (9th Cir. 2003). The factual “allegations
 13   must be enough to raise a right to relief above the speculative level.” Bell Atl. Corp.
 14   v. Twombly, 550 U.S. 544, 555 (2007). That is, the complaint must “contain sufficient
 15   factual matter, accepted as true, to state a claim to relief that is plausible on its face.”
 16   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). These factual allegations must provide
 17   fair notice and enable the opposing party to defend itself effectively. Starr v. Baca,
 18   652 F.3d 1202, 1216 (9th Cir. 2011).
 19         The determination whether a complaint satisfies the plausibility standard is a
 20   “context-specific task that requires the reviewing court to draw on its judicial
 21   experience and common sense.” Iqbal, 556 U.S. at 679. A court is generally limited
 22   to the pleadings and must construe all “factual allegations set forth in the complaint . .
 23   . as true and . . . in the light most favorable” to the plaintiff. Lee v. City of L.A., 250
 24   F.3d 668, 688 (9th Cir. 2001).       But a court need not blindly accept conclusory
 25   allegations, unwarranted deductions of fact, and unreasonable inferences. Sprewell v.
 26   Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
 27         If a pleading is so vague and ambiguous that a party cannot reasonably prepare
 28   a response, the party may ask for a more definite statement of the pleading. Fed. R.



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  1   Civ. P. 12(e). This request must be made before a response is filed, and it must
  2   explain the defects of the complaint. Id. If the pleading party fails to provide this
  3   statement, the court may strike the pleading. Id.
  4                                    IV.       DISCUSSION
  5         Defendants move to dismiss on the grounds that: 1) Shaw does not have
  6   standing; 2) he fails to state any claims on which relief could be granted; 3) his
  7   Second Third, Fourth, and Fifth Causes of Action against Defendants Burke,
  8   Marmolejo, Dixon-Peters, and Astorga (the “Pierce Defendants”) fail to state claims
  9   for individual liability; 4) the Pierce Defendants are entitled to qualified immunity;
 10   and 5) Eleventh Amendment immunity bars all claims for monetary damages against
 11   Defendants in their official capacities.
 12   A.    Shaw Alleges Facts Establishing Standing
 13         “Constitutional challenges based on the First Amendment present unique
 14   standing considerations.” Arizona Right to Life Political Action Comm. v. Bayless,
 15   320 F.3d 1002, 1006 (9th Cir. 2003). Thus, in order to “avoid the chilling effect of
 16   sweeping restrictions, the Supreme Court has endorsed what might be called a ‘hold
 17   your tongue and challenge now’ approach rather than requiring litigants to speak first
 18   and take their chances with the consequences.” Id. (citing Dombrowski v. Pfister, 380
 19   U.S. 479, 486 (1965)). Generally, standing requires an “injury in fact,” causation, and
 20   that the injury may be redressed by a favorable decision by the court. Lujan v.
 21   Defenders of Wildlife, 504 U.S. 555, 560–62 (1992). A plaintiff’s alleged harm
 22   qualifies as an “injury in fact” where the defendant’s actions invade a legally
 23   protected interest that is: “(a) concrete and particularized; and (b) ‘actual or imminent,
 24   not ‘conjectural’ or ‘hypothetical.’”      Id. at 560 (citations omitted).   Here, Shaw
 25   challenges Pierce’s free speech policies, both facially, and as applied.
 26         1.     As applied
 27         As applied, Shaw alleges that Defendants restricted his speech when Pierce
 28   administrators enforced Pierce’s Free Speech Policy, and required him to obtain a



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  1   permit before continuing to distribute Spanish-language copies of the U.S.
  2   Constitution. (Compl. ¶¶ 56–62). This sufficiently establishes his standing because
  3   he demonstrates a concrete injury, traceable to Defendants’ conduct that could be
  4   redressed by a favorable ruling. See, e.g., Preminger v. Peake, 552 F.3d 757, 764 (9th
  5   Cir. 2008) (holding plaintiff had direct standing to bring an as-applied challenge
  6   where defendant interrupted plaintiff’s registration of voters within defendant’s
  7   facility).
  8          2.      Facial challenge
  9          With respect to Shaw’s facial challenge, Defendants claim Shaw does not
 10   establish how his “rights have been violated or are immediately threatened by specific
 11   provisions of the District Free Speech Policy and actions of the members of the Board
 12   of Trustees,” as opposed to the Pierce Defendants. (Mot. 7) Shaw alleges, however,
 13   that Pierce developed its Free Speech Policies, which have already restricted his
 14   speech (Compl. ¶¶ 56–62), in accordance with the District’s directive that college
 15   campuses are non-public fora, and that the colleges designate specific free speech
 16   areas. (Id. ¶¶ 2–3, 29–39.) Defendants also argue that Shaw does not have standing
 17   because he cannot demonstrate Pierce is likely to enforce the free speech policies.
 18   (Mot. 7–10.)
 19          When evaluating a pre-enforcement plaintiff’s standing, courts consider
 20   “whether [a plaintiff] ha[s] failed to show a reasonable likelihood that the government
 21   will enforce the challenged law….” Lopez v. Candaele, 630 F.3d 775, 786 (2010).
 22   Next, a plaintiff must establish, “with some degree of concrete detail, that they intend
 23   to violate the challenged law,” and that the law applies to them.          Id.   “[P]ast
 24   enforcement against the same conduct is good evidence that the threat of enforcement
 25   is not “‘chimerical.’” Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2345
 26   (2014) (quoting Steffel v. Thompson, 415 U.S. 452, 459 (1974)). Defendants argue
 27   that because college officials did not restrict Shaw’s expressive activity on November
 28   16, 2016, or the anti-Trump protestors’ activity, the threat of future enforcement is



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  1   low. (Mot. 9.) This, however, does not negate the fact that college administrators
  2   interrupted Shaw’s expressive activity on November 2, 2016, pursuant to the
  3   challenged policies, nor the fact that Pierce also indicates it will enforce its Free
  4   Speech Policies through its Standards of Student Conduct, which can result in
  5   disciplinary action. (Compl. ¶¶ 55–63); Libertarian Party of Los Angeles Cty. v.
  6   Bowen, 709 F.3d 867, 871 (9th Cir. 2013) (holding threat of enforcement requirement
  7   satisfied where defendant posted challenged regulation on website). Accordingly,
  8   Shaw sufficiently alleges threat of future enforcement.
  9         Further, Shaw adequately describes that he intends to violate the challenged
 10   policies. Lopez, 630 F.3d at 786. He sets forth the conduct that originally subjected
 11   him to enforcement of the policy, a second episode, where Pierce did not enforce the
 12   policy, or, at least, did not catch him violating it, and that he intends to continue doing
 13   so in the future. (Compl. ¶¶ 56–66, 74, 88.) Astorga also specifically told Shaw that
 14   he should see him “next time [Shaw] would like to distribute any materials” so that
 15   Astorga could provide the appropriate paperwork. (Id. ¶ 74.) At this stage, Shaw
 16   sufficiently pleaded his intent to continue engaging in protected activity, such that the
 17   Court is not required to conjure hypotheticals that may lead to enforcement of the
 18   policies in the distant future.
 19         Finally, a favorable ruling will redress Shaw’s injury because he will be able to
 20   engage in free speech activities without discipline, interruption from college
 21   authorities, or the chilling effect accompanying the threat of discipline. Khademi v.
 22   South Orange Cty. Cmty. College Dist., 194 F. Supp. 2d 1011, 1019 (C.D. Cal. 2002)
 23   (holding that favorable ruling would redress harm where regulation at issue “could
 24   possibly prevent Plaintiffs from engaging in certain constitutionally protected
 25   activities, restrict their manner of expression, and/or expose them to disciplinary
 26   action for engaging in certain protected activities”).
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  1   B.    Failure to State a Claim: First Amendment Issues
  2         Defendants argue that Shaw fails to state a claim under the First Amendment.
  3   (Mot. 11.) The extent to which the government may regulate speech at a school
  4   largely depends on how the area at issue is characterized.           Courts traditionally
  5   categorize property as either (1) a public forum, (2) a designated public forum, or (3) a
  6   non-public forum. Perry Educ. Ass’n v. Perry Local Educs. Ass’n, 460 U.S. 37, 45–
  7   46 (1983). With each of these monikers comes a different standard of review. Shaw
  8   contends that Defendants’ regulations violate the First Amendment in at least two
  9   ways: 1) Defendants’ limitation of speech to only the Free Speech Area is not a
 10   reasonable time, place, or manner restriction; and 2) despite designating a Free Speech
 11   Area, Defendants’ permitting requirement is an unconstitutional prior restraint. (See
 12   Opp’n, Section C.)
 13         1.     Type of Forum
 14         “The college classroom with its surrounding environs is peculiarly ‘the
 15   marketplace of ideas.’” Healy v. James, 408 U.S. 169, 180 (1972). However, simply
 16   because the government owns property does not automatically mean that any
 17   individual may use it to express his or her First Amendment rights. Grayned v. City of
 18   Rockford, 408 U.S. 104, 117–118 (1972) (“Nowhere [have we] suggested that
 19   students, teachers, or anyone else has an absolute constitutional right to use all parts of
 20   a school building or its immediate environs for…unlimited expressive purposes.”).
 21         Traditional public fora are places, such as public sidewalks or parks, where
 22   individuals have long been able to freely express their ideas. Perry, 460 U.S. at 45.
 23   In public fora, the government may not completely restrict speech. Id. “[T]o enforce
 24   a content-based exclusion[, the government] must show that its regulation is necessary
 25   to serve a compelling state interest and that it is narrowly drawn to achieve that end.”
 26   Id. (citing Carey v. Brown, 447 U.S. 455, 461 (1980)). Where a regulation is content-
 27   neutral, the government may establish reasonable time, place, and manner restrictions,
 28   which are narrowly tailored to achieve a significant government interest, so long as



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  1   there are ample alternative channels of communication. Id. (citing United States
  2   Postal Serv. v. Council of Greenburgh, 453 U.S. 114, 132 (1981)); Ward v. Rock
  3   Against Racism, 491 U.S. 781, 791 (1989).
  4          Even in places that are not traditionally regarded as a public forum, the
  5   government may designate the area as an area for free discourse, which renders it a
  6   designated public forum. Perry, 460 U.S. at 45–46. While not required to maintain
  7   the area open for expression forever, during the period the government maintains the
  8   area as an area for free expression, its regulations are subject to the same level of
  9   scrutiny as those employed in a traditional public forum. Id. at 46 (citing Widmar v.
 10   Vincent, 454 U.S. 263, 269–270 (1981)) (“Reasonable time, place and manner
 11   regulations are permissible, and a content-based prohibition must be narrowly drawn
 12   to effectuate a compelling state interest.”). While not entirely settled,3 a sub-category
 13   of the “designated public forum” is the “limited public forum.” Good News Club v.
 14   Milford Central Sch., 533 U.S. 98, 106–07 (2001); OSU Student Alliance v. Ray, 699
 15   F.3d 1053, 1062 (9th Cir. 2012) (quoting Flint v. Dennison, 488 F.3d 816, 830–31
 16   (9th Cir. 2007)). A limited forum occurs where the government opens a non-public
 17   forum to certain types of speech. OSU Student Alliance, 699 F.3d at 1062. In a
 18   limited public forum, the government may regulate speech as long as the regulations:
 19   “(1) comport with the definition of the forum (for example, the government cannot
 20   exclude election speech from a forum that it has opened specifically for election
 21   speech); (2) are reasonable in light of the purpose of the forum; and (3) do not
 22   discriminate by viewpoint.” Id. at 1062.
 23          The final category, non-public fora, includes public property that “is not by
 24   tradition or designation a forum for public communication….” Id. The government
 25   may impose time, place, and manner restrictions, and “the state may reserve the forum
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 27     The Ninth Circuit has explained that “[t]he contours of the terms ‘designated public forum’ and
      ‘limited public forum’ have not always been clear.” Hopper v. City of Pasco, 241 F.3d 1067, 1074
 28   (9th Cir. 2001) (citing DiLoreto v. Downey Unified Sch. Dist. Bd. of Educ., 196 F.3d 958, 965 n.4
      (1999)).



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  1   for its intended purposes, communicative or otherwise, as long as the regulation on
  2   speech is reasonable and not an effort to suppress expression merely because public
  3   officials oppose the speaker’s view.” Perry, 460 U.S. at 46.
  4         Shaw maintains that Pierce’s entire campus is a traditional public forum, or, at
  5   least, a designated public forum.      (Opp’n 10–11.)      Defendants claim that the
  6   California community colleges are not public fora because their “primary mission” is
  7   to “provide academic and vocational education to younger and older students.” (Mot.
  8   13.) Defendants also rely on the District Board Rules, which declare its campuses to
  9   be non-public fora, except the Free Speech Area, which Defendants claim is a limited
 10   public forum. (Id., Compl. ¶ 35, Ex. A, pg. 30.) On the other hand, Shaw argues that
 11   California Education Code section 76120 affirmatively designates community college
 12   campuses as public fora. (Opp’n 11.)
 13         Section 76120 provides that the rules implemented by the governing board of a
 14   community college:
 15              shall not prohibit the right of students to exercise free
                 expression…except that expression which is obscene,
 16              libelous or slanderous according to current legal standards,
 17              or which so incites students as to create a clear and present
                 danger of the commission of unlawful acts on [campus], or
 18
                 the violation of lawful community college regulations, or the
 19              substantial disruption of the orderly operation of the
 20
                 community college, shall be prohibited.
      Cal. Educ. Code § 76120. Shaw analogizes this statute to the one at issue in OSU
 21
      Alliance v. Ray, where the Ninth Circuit held that an Oregon state regulation that
 22
      opened universities for speech activities, with the exception of certain areas marked
 23
      authorized access only, indicated that the campus was “at least a designated public
 24
      forum.” OSU Alliance, 699 F.3d at 1062. While the Section 76120 evinces an intent
 25
      of the California legislature to open community college campuses to “the right of
 26
      students to exercise free expression,” it also explicitly excludes expression that is in
 27
      “violation of lawful community college regulations.” Cal. Educ. Code § 76120. The
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  1   District’s regulations here seem to be at odds with the spirit of Section 76120.
  2   Because Section 76120 excludes activities that violate “lawful community college
  3   regulations,” and Defendants claim Shaw’s actions violate Pierce’s regulations, the
  4   Court must evaluate the nature of the property Shaw seeks to use in categorizing it.
  5         “[T]he intent of a government to create a nonpublic forum has no direct bearing
  6   upon traditional public forum status.” ACLU of Nevada v. City of Las Vegas, 333
  7   F.3d 1092, 1104 (9th Cir. 2003). Instead, in evaluating whether an area is a traditional
  8   public forum, courts evaluate:
  9               1) the actual use and purposes of the property, particularly
                  status as a public thoroughfare and availability of free public
 10               access to the area; 2) the area’s physical characteristics,
 11               including its location and the existence of clear boundaries
                  delimiting the area; and 3) traditional or historic use of both
 12
                  the property in question and other similar properties.
 13   Id. at 1100. The Court must also keep in mind that “[a] modern university contains a
 14   variety of fora.” Bowman v. White, 444 F.3d 967, 976 (8th Cir. 2006).
 15         On Pierce’s campus, there are “open areas and sidewalks beyond the Free
 16   Speech Area where student speech, expressive activity, and distribution of literature
 17   would not interfere with or disturb access to college building or sidewalks….”
 18   (Compl. ¶ 54.) At the time administrators stopped Shaw from distributing Spanish-
 19   language copies of the U.S. Constitution, he was alongside a “large thoroughfare
 20   called ‘the Mall’” and was not “disrupting campus operations or interfering with foot
 21   traffic.” (Id. ¶¶ 57–58.) These facts tend to establish the open areas of Pierce’s
 22   campus are a public forum.
 23         In Widmar v. Vincent, the Supreme Court noted in a footnote that “the campus
 24   of a public university, at least for its students, possesses many of the characteristics of
 25   a public forum.” 454 U.S. at 267 n.5 (citing Police Dept. of Chicago v. Mosley, 408
 26   U.S. 92 (1972) and Cox v. Louisiana, 379 U.S. 536 (1965)). This characterization
 27   makes sense, because after all, what is a university’s purpose but to expose students to
 28   new ideas and spark dialogue? However, the Supreme Court recognized, that a



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  1   university’s first priority is education and that any First Amendment analysis must
  2   consider this purpose. Id. All this means, however, is that a campus need not “make
  3   all of its facilities equally available to students and nonstudents alike,” nor “grant free
  4   access to all of its grounds or buildings.” Id. Given the traditional purpose of the
  5   open, outdoor areas of universities, such as the “Mall” on Pierce’s campus, the Court
  6   finds that these areas are traditional public fora, regardless of Pierce’s regulations
  7   naming them non-public fora. Id.; Bowman, 444 F.3d at 979 (“College campuses
  8   traditionally and historically serve as places specifically designated for the free
  9   exchange of ideas.”). This does not eviscerate Defendants’ ability to regulate speech
 10   in these areas with reasonable time, place, and manner restrictions, narrowly tailored
 11   to serve their interests; it simply limits their ability to create content-based restrictions.
 12   See OSU Student Alliance, 699 F.3d at 1062–63 (permitting content-based, viewpoint
 13   neutral restrictions in non-public or limited fora).
 14         In distinguishing the legal authority cited by Shaw and the United States,
 15   Defendants argue that there should be some distinction between Pierce and “public
 16   universities.” (Reply 8, ECF No. 35.) According to Defendants, because Pierce is a
 17   community college, and not a “public university,” the cases finding that open areas are
 18   traditional public fora are not applicable. (Id.) Simply because a community college
 19   attracts students who are more likely to commute and less likely to live on campus,
 20   does not mean that community college students should be precluded from expressing
 21   themselves in traditionally free, open areas such as the Mall on Pierce’s campus. One
 22   would hope that community colleges strive to provide a certain caliber of education,
 23   with which also comes the opportunity to express oneself in the same manner as a
 24   student at a “public university.” Accordingly, the Court does not find this argument
 25   persuasive.
 26         Defendants also criticize Shaw for ignoring Board Rule 9903 in his Complaint.
 27   (Reply 2.) Board Rule 9903 provides: “The president of each college may designate
 28   areas outside of the Free Speech Areas where students…may exercise freedom of



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  1   expression subject only to reasonable time, place and matter restrictions.” (Compl.,
  2   Ex. A, pg. 33.) This Rule shows that the District contemplated designating areas
  3   outside of the Free Speech Area as public fora. The Rule allows the college president
  4   to determine where to designate additional areas of expression, given the unique
  5   considerations applicable to a specific campus layout, i.e. location of classrooms vis-
  6   à-vis open spaces or thoroughfares.       This supports a finding that the District
  7   designated, or at least provided authority to designate, certain areas of Pierce’s
  8   campus outside of the Free Speech Area as public fora. Indeed, Shaw alleges that he
  9   and others engaged in expressive activity outside of the Free Speech Area on other
 10   occasions, despite the policies prohibiting such conduct. (Compl. ¶ 66.) These
 11   actions, if proven true, could also nullify the policies declaring the entire campus a
 12   non-public forum.     See OSU Student Alliance, 699 F.3d at 1063 (holding that
 13   university must consistently apply policies designed to establish an area as a non-
 14   public forum). In any event, the scrutiny the Court applies to regulations governing
 15   public or designated fora is the same. Perry, 460 U.S. at 45–46. Thus, the Court must
 16   evaluate the nature of Defendants’ policies. Id.
 17         2.     Significant interests and avenues of communication
 18         The parties do not dispute that Defendants have a significant interest in
 19   “avoiding disruption, insuring safety, comfort, or convenience of the public, and
 20   maintaining grounds that are attractive and intact….” (Opp’n 16.) The question is
 21   whether Defendants narrowly tailored their regulations, and whether students have
 22   alternate avenues of communication. Perry, 460 U.S. at 45–46.
 23         “The requirement of narrow tailoring means that a time, place or manner
 24   restriction on First Amendment activity may not ‘burden substantially more speech
 25   than is necessary to further the government’s legitimate interests.’” Grossman v. City
 26   of Portland, 33 F.3d 1200, 1205 (9th Cir. 1994) (quoting Ward, 491 U.S. at 799).
 27   Defendants argue their regulations are narrowly tailored because without designating
 28   free speech areas, students “would be able to congregate on walkways outside of



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  1   doors and buildings, compete for use of college grounds, create safety and sanitation
  2   issues, and impose even greater administrative burdens….” (Mot. 14.) However,
  3   Defendants’ literally “narrow” free speech area, comprising 616 square feet on a
  4   campus spanning hundreds of acres (Compl. ¶ 46), does not achieve Defendants’
  5   stated goals without unnecessarily impeding students’ First Amendment rights. See
  6   Kuba v. 1-A Agric. Ass’n, 387 F.3d 850, 862 (9th Cir. 2004) (citations omitted)
  7   (holding that a policy that “relegates communication activity to three small, fairly
  8   peripheral areas, does not sufficiently match the stated interest of preventing
  9   congestion and so is not narrowly tailored”). There are ample ways for Defendants to
 10   achieve their stated goals without precluding so much protected speech: Defendants
 11   could limit expression to areas away from classrooms or impose restrictions on the
 12   time students are able to express themselves. Instead, Defendants preclude all speech
 13   in substantial portions of the campus, such as the Mall, without any discernable
 14   connection to their stated interests.    Accordingly, Shaw sufficiently alleges that
 15   Defendants’ regulations are not narrowly tailored.
 16         Defendants must also leave open alternative channels of communication.
 17   Perry, 460 U.S. at 45–46. Defendants argue that because the free speech area must be
 18   in a place “where there is a normal flow of student traffic with unlimited accessibility”
 19   (Compl. ¶ 36), students are provided “extensive access to their intended audience.”
 20   (Mot. 15.)   Because the one place Pierce allows expressive activity to occur is
 21   centralized does not detract from the fact that Defendants ostensibly close all other
 22   channels of communication outside of the Free Speech Area by designating it non-
 23   public. (Compl. ¶ 35.) Defendants also argue that Pierce’s billboards permit students
 24   sufficient alternate methods of expressing themselves. (Mot. 16.) Placing a pamphlet
 25   on a billboard is a different medium of expression, and does not sufficiently permit
 26   students alternative channels of expression. See Galvin v. Hay, 374 F.3d 739, 750
 27   (9th Cir. 2004) (“The Court has recognized that location of speech, like other aspects
 28   of presentation, can affect the meaning of communication and merit First Amendment



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  1   protection for that reason.”). Last, Defendants argue that Board Rule 91005, which
  2   prevents the president of the college from approving rules that “would deny students
  3   their free speech rights were they conducting such activities in Free Speech Areas,”
  4   provides students another avenue of communication. (Mot. 16.) However, this Rule
  5   is at odds with the Pierce policy, which does not provide any additional areas of
  6   expression, and, thus does allow Shaw other ways to express himself. Accordingly,
  7   Shaw adequately pleads this element, too, and the Court DENIES Defendants’
  8   Motion on these grounds.
  9         3.     Prior Restraint
 10         The government may regulate expressive activity through reasonable permitting
 11   requirements to ensure equal access, and to maintain order. See generally Forsyth
 12   Cty., Ga., 505 U.S. at 129–30.       However, prior restraints come with a “heavy
 13   presumption” of invalidity. Id. at 130. Courts typically find permitting schemes
 14   unconstitutional where they are “contingent upon the uncontrolled will of an
 15   official—as by requiring a permit or license which may be granted or withheld in the
 16   discretion of such official.” Shuttlesworth v. Birmingham, 394 U.S. 147, 151 (1969)
 17   (quoting Staub v. City of Baxley, 355 U.S. 313, 322 (1958)).
 18         As described above, Shaw alleges that Pierce requires students to complete a
 19   permit application prior to using the Free Speech Area, and that the policy “does not
 20   limit the discretion of…administrators responsible for its enforcement, to deny or
 21   approve an application because of the content or viewpoint of the speaker’s intended
 22   message.”     (Compl. ¶¶ 48–52.)        Defendants claim that “the Pierce College
 23   administrators who process forms for use of the [Free Speech Area] do not have any
 24   discretion to deny a permit, other than on the grounds that the [Free Speech Area] has
 25   already been reserved by another speaker or group at the time requested.” (Mot. 19
 26   (emphasis in original).) Yet, Defendants cannot point to allegations in the Complaint,
 27   or anywhere in the regulations themselves that substantiate this argument. To the
 28   extent Pierce College actually has articulated standards for its administrators to follow



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  1   in deciding whether to grant students use of the Free Speech Area, Shaw has alleged
  2   otherwise (Compl. ¶¶ 48–52, 111, 122, 129), and the Court must take his allegations
  3   as true. Lee, 250 F.3d at 688. Thus, to the extent Pierce’s policy does not provide
  4   “narrow objective, and definite standards to guide the licensing authority,” it is invalid
  5   on its face. Forsyth Cty., Ga, 505 U.S. at 131.
  6         The permitting requirement also impermissibly restricts speech because it
  7   applies to all speakers regardless of whether applicants intend to speak alone or as part
  8   of a group. (See Compl., Ex. C.) Courts strike permitting requirements where they
  9   indiscriminately apply regardless of the number of speakers. Grossman, 33 F.3d at
 10   1206–07 (holding permitting ordinance overbroad where it swept in actions of single
 11   protestors).   These types of regulations are impermissible because they are not
 12   legitimately tied to the government’s interests. Where a large group of protestors may
 13   disrupt class, or impede foot traffic, the likelihood that a single protestor would do the
 14   same is low. Furthermore, there are other, less restrictive avenues for the government
 15   to achieve its goals. Accordingly, Shaw states a claim under this theory, too.
 16         Finally, Shaw argues that having to identify himself during the permitting
 17   process is improper because it interferes with his right to anonymity. (Compl. ¶¶ 48,
 18   109; Opp’n 21.) “[T]he requirement that potential speakers identify themselves to the
 19   government, and the concomitant loss of anonymity, is one of the primary evils the
 20   Supreme Court cited when it struck down the permitting requirement in Watchtower
 21   Bible.” Berger v. City of Seattle, 569 F.3d 1029, 1045 (9th Cir. 2009) (emphasis in
 22   original) (citing Watchtower Bible & Tract Society v. Village of Stratton, 536 U.S.
 23   150, 166–67 (2002)). Defendants argue that only administrators know of his identity,
 24   and therefore he maintains his anonymity with respect to individuals who may happen
 25   upon him while he is exercising his rights. (Mot. 20.) These facts are not contained
 26   in the Complaint, and thus not before the Court on this Motion. Furthermore, in
 27   addition to anonymity, the permitting process precludes spontaneous speech because
 28   students must obtain a permit before speaking, even within the Free Speech Area.



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  1   (See Compl., Ex. C.) Spontaneous speech is protected by the First Amendment. See
  2   Watchtower, 536 U.S. at 167. Accordingly, Shaw adequately pleaded the permitting
  3   process constitutes an unlawful prior restraint.
  4   C.    Failure to State a Claim: Section 1983 Causation
  5         Defendants also move to dismiss on the grounds that Shaw’s Second through
  6   Fifth causes of action do not sufficiently allege that Defendants caused Shaw’s injury.
  7   (See Mot. 8, 16–17.) Defendants also argue these points in attacking Shaw’s standing.
  8         In an action under 28 U.S.C. § 1983, “[t]he requisite causal connection can be
  9   established not only by some kind of direct personal participation in the deprivation,
 10   but also by setting in motion a series of acts by others which the actor knows or
 11   reasonably should know would cause others to inflict the constitutional injury.”
 12   Johnson v. Duffy, 588 F.2d 740, 743–44 (9th Cir. 1978). A supervisor may also be
 13   liable under section 1983 where the supervisor’s actions in implementing,
 14   promulgating, or advancing policies proximately cause plaintiff’s harm. See OSU
 15   Student Alliance, 699 F.3d at 1076–77; see also Starr v. Baca, 652 F.3d 1202, 1205–
 16   06 (9th Cir. 2011).
 17         Here, Shaw alleges facts establishing each individual defendant’s alleged role in
 18   violating his rights:
 19              Burke is the President of Pierce College, and is responsible for
 20                designating the Free Speech Area (Compl. ¶¶ 15, 36);
 21              Dixon-Peters is Vice President of Student Services, and students are
 22                required to consult him prior to distributing materials on campus to
 23                obtain a permit (Id. at ¶ 16, Ex. C, pg. 36);
 24              Marmolejo is Dean of Student Services, and was aware of Shaw’s search
 25                for a copy of the free speech policy, and is responsible for
 26                “policymaking, administration, and enforcement of the college’s policies
 27                and procedures, including those that were applied to…Shaw” (Id. at
 28                ¶¶ 17, 70–74); and



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  1             Astorga is Dean of Student Engagement and specifically told Shaw that
  2               “[t]he use of the Speech area [was] under [his] purview.” (Id. at ¶¶ 17,
  3               74, 79–80.)
  4         Shaw also argues that because he seeks injunctive relief, he “need only identify
  5   the law or policy challenged as a constitutional violation and name the official within
  6   the entity who can appropriately respond to injunctive relief.” Hartmann v. Cal. Dep’t
  7   of Corr. & Rehab., 707 F.3d 1114, 1127 (9th Cir. 2013) (citations omitted). He has
  8   done so here. (Compl. ¶¶ 15–18.) Defendants do not respond to this argument.
  9   Accordingly, the Court DENIES Defendants’ Motion on these grounds.
 10   D.    Eleventh Amendment
 11         Defendants move to dismiss Shaw’s claims for monetary damages against the
 12   individuals in their official capacities. (Mot. 3–4.) Shaw concedes that he may not
 13   assert monetary claims against the individuals in their official capacities (Opp’n 9),
 14   but maintains he may pursue damages against them in their individual capacities.
 15   Hafer v. Melo, 502 U.S. 21, 30–31 (1991) (citing Ex parte Young, 209 U.S. 123, 238
 16   (1908)) (“[T]he Eleventh Amendment does not erect a barrier against suits to impose
 17   ‘individual and personal liability’ on state officials under § 1983.”). Accordingly,
 18   while Shaw may not pursue monetary damages against the individuals in their official
 19   capacities, he may do so to the extent his claims are against them in their individual
 20   capacities. However, as described below, the Court finds Defendants are entitled to
 21   qualified immunity, precluding a claim for monetary damages.
 22   E.    Qualified Immunity
 23         Defendants next argue that the Pierce College Defendants are entitled to
 24   qualified immunity to the extent they are sued in their individual capacities. (Mot.
 25   22.) “Qualified immunity involves a two-step inquiry: (1) whether the [defendant’s]
 26   conduct violated a constitutional right; and (2) whether that right was clearly
 27   established when viewed in the context of this case.” Ctr. for Bio-Ethical Reform, Inc.
 28   v. Los Angeles Cty. Sheriff Dep’t, 533 F.3d 780, 793 (9th Cir. 2008) (citing Ganwich



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  1   v. Knapp, 319 F.3d 1115, 1119 (9th Cir. 2003)). The Court addressed the alleged
  2   violation of Shaw’s constitutional rights in the sections above, so the only remaining
  3   issue is whether Shaw’s rights were “clearly established.” Id. While there need not
  4   be “a case directly on point[,]…existing precedent must have placed the statutory of
  5   constitutional question beyond debate.” Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011)
  6   (citing Anderson v. Creighton, 483 U.S. 635, 640 (1987)).
  7         Given the range of cases addressing the status of universities as public or non-
  8   public fora, and the differing classifications attributed to different aspects of a
  9   university’s campus, the Court cannot make that finding here. Furthermore, while not
 10   determinative, as cited by Defendants, these regulations were litigated previously,
 11   albeit in a different context, with different results. See Guengerich v. Baron, No. 10-
 12   cv-01045-JHN-PLAx, 2011 WL 13116612, at *7 (C.D. Cal. May 5, 2011) (granting
 13   summary judgment and finding community college district’s free speech policy did
 14   not violate the First Amendment rights of non-students). Accordingly, the Court
 15   GRANTS Defendants’ Motion inasmuch as it requests dismissal of Shaw’s claims for
 16   monetary damages against the individual defendants, Burke, Marmolejo, Dixon-
 17   Peters, and Astorga, in their individual capacities; Shaw’s claim for injunctive relief,
 18   however, survives. See, e.g., Hydrick v. Hunter, 669 F.3d 937, 939–40 (9th Cir.
 19   2012).
 20   F.    Motion for More Definite Statement
 21         Defendants request a more definite statement, pursuant to Federal Rule of Civil
 22   Procedure 12(e), in their Notice of Motion. (Not. of Mot. 2.) However, they do not
 23   address this request in any detail in their papers.     “A motion for more definite
 24   statement pursuant to Rule 12(e) attacks the unintelligibility of the complaint, not
 25   simply the mere lack of detail, and therefore, a court will deny the motion where the
 26   complaint is specific enough to apprise the defendant of the substance of the claim
 27   being asserted.” Beery v. Hitachi Home Elecs. (Am.), Inc., 157 F.R.D. 477, 480 (C.D.
 28   Cal. 1993). Shaw adequately pleads his Complaint such that Defendants will be able



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  1   to frame a responsive pleading, and therefore the Court DENIES Defendants’ Motion
  2   on these grounds. Famolare, Inc. v. Edison Bros. Stores, 525 F. Supp. 940, 949 (E.D.
  3   Cal. 1981) (“A motion for a more definite statement should not be granted unless the
  4   defendant cannot frame a responsive pleading.”).
  5                                  V.    CONCLUSION
  6          As set forth more fully above, the Court DENIES, in part, and GRANTS, in
  7   part, Defendants’ Motion to Dismiss, and for a more definite statement. (ECF No.
  8   22.)
  9          IT IS SO ORDERED.
 10
 11          January 17, 2018
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 13                               ____________________________________
 14                                        OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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